      Case 4:15-cr-00224-BSM      Document 237      Filed 08/23/16   Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                            4:15CR00224-BSM-3


MARISSA DONANN SCROGGINS (3)

                                      ORDER

      For the reasons stated on the record during the August 23, 2016 Revocation

Hearing and with the consent of all parties, the United States’ Motion to Revoke Bond

(doc. 218) is hereby DENIED at this time.

      The previously imposed conditions of Release are MODIFIED, as follows:

      (1)    Defendant shall reside with her aunt, Heather Clark at 8110 Short Lane,

Mabelvale, Arkansas, who has agreed to perform the responsibilities of a third-party

custodian.   Heather Clark is hereby APPOINTED as Defendant’s third-party

custodian, effective immediately, after indicating to the Court during the Hearing that

she understands and accepts her responsibilities in that regard.

      (2)    In addition to ongoing biweekly mental health counseling, which shall

continue, Defendant must also participate in weekly individual and group drug

counseling. Said sessions shall be held back-to-back to minimize travel.
      Case 4:15-cr-00224-BSM      Document 237   Filed 08/23/16   Page 2 of 2




      (3)     Defendant shall not use alcohol.

      Defendant must comply with all previously imposed and modified conditions

of release.

      DATED this 23rd day of August, 2016.

                                        ___________________________________
                                        UNITED STATES MAGISTRATE JUDGE
